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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011
                                    October 5, 2022


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: Wilbur Slockish, et al.
          v. Department of Transportation, et al.
          No. 22-321
          (Your No. 21-35220)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on
October 3, 2022 and placed on the docket October 5, 2022 as No. 22-321.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Emily Walker
                                        Case Analyst
